                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                               FAYETTEVILLE DIVISION



 FAYETTEVILLE PUBLIC LIBRARY, et al.,                                        PLAINTIFFS

 v.                                 NO. 5:23-CV-05086-TLB

 CRAWFORD COUNTY, ARKANSAS, et al.,                                          DEFENDANTS



       PLAINTIFF ADAM WEBB’S RESPONSES TO DEFENDANTS’ FIRST SET OF
      INTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS

Pursuant to Federal Rule of Civil Procedure 33 and 34, Plaintiff Adam Webb, by and through his
undersigned attorneys, hereby responds and objects to Defendants Todd Murray, Sonia Fonticiella,
Devon Holder; Matt Durrett, Jeff Phillips, Will Jones, Teresa Howell, Ben Hale, Connie Mitchell,
Dan Turner, Jana Bradford, Frank Spain, Tim Blair, Kyle Hunter, Daniel Shue, Jeff Rogers, David
Ethredge, Tom Tatum, II, Drew Smith, Rebecca Reed Mccoy, Michelle C. Lawrence, Debra
Buschman, Tony Rogers, Joshua Robinson, Carol Crews, Kevin Holmes, Chris Walton, and Chuck
Graham’s (the “Prosecutor Defendants”) First Set of Interrogatories and Requests for Production.
Mr. Webb expressly reserves the right to amend or supplement these Responses and Objections,
as necessary.

                                  GENERAL OBJECTIONS

       1.      Mr. Webb objects to the Interrogatories and Requests For Production to the extent
they purport to impose requirements that are inconsistent with, or beyond those contemplated by,
the Federal Rules of Civil Procedure, the Local Civil Rules of the United States District Court for
the Western District of Arkansas, or any other applicable rule or law. Mr. Webb will construe and
respond to each Interrogatory in accordance with the requirements of the Federal Rules of Civil
Procedure, the Local Civil Rules, and any other applicable rule or law.

       2.      Mr. Webb objects to the Interrogatories and Requests for Production to the extent
they seek information that is not relevant to Mr. Webb’s claims or the Prosecutor Defendants’
defenses and/or are not proportional to the Prosecutor Defendants’ needs.

       3.      Mr. Webb objects to the Interrogatories and Requests for Production to the extent
they seek information that is publicly available; information that is already in the possession,
custody, or control of the Prosecutor Defendants, the Prosecutor Defendants’ attorneys, or other
representatives; or information that is otherwise available from sources to which the Prosecutor
Defendants also have access. Mr. Webb reserves the right under Federal Rule of Civil Procedure



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            RESPONSES AND OBJECTIONS TO THE INTERROGATORIES

INTERROGATORY NO. 1:

Identify 20 items in the Garland County Library’s (GCL) collection that you believe are subject to
regulation under Section 1 of Act 372 of 2023.

ANSWER AND OBJECTION TO INTERROGATORY NO. 1:
Mr. Webb objects to Interrogatory No. 1 to the extent it seeks disclosure of information protected
by the attorney-client privilege, attorney work product doctrine, common interest privilege, and
other applicable privileges. Mr. Webb objects to Interrogatory No. 1 as ambiguous, vague, and
unduly burdensome because it requires Mr. Webb to draw legal conclusions about the extent to
which materials in GCL’s collection are subject to regulation under Section 1 of Act 372, a law
that Mr. Webb alleges is unconstitutionally vague.

Mr. Webb also objects that his ability to identify books in GCL’s collection that are subject to Act
372 would be greatly enhanced if he had the benefit of the Prosecutor Defendants’ response to
Plaintiffs’ first set of discovery requests, which should clarify, among other things, the Prosecutor
Defendants’ views on the applicability of Act 372 to a list of frequently challenged books.
Understanding how the Prosecutor Defendants, who are tasked with interpreting and enforcing Act
372, understand that law will help Mr. Webb more accurately determine which books in GCL’s
collection are likely to trigger a prosecution under Section 1 of Act 372, if they are made generally
available to library patrons, regardless of age.

Without waiving these objections, Mr. Webb provides the following list of books, which appear
in GCL’s general collection. Mr. Webb has not ranked these books or otherwise organized them
in any particular order. Mr. Webb has selected these books because they are among those that have
been scrutinized by officials on the State Library Board and/or unfairly characterized as containing
material that is legally obscene or otherwise inappropriate for inclusion in a public library. To
clarify, Mr. Webb asserts that these books are constitutionally protected and not legally obscene,
but that they could be deemed harmful to some young or less mature minors, even though Mr.
Webb asserts that these books are appropriate for older and more mature minors.

   1. “Esther the Wonderpig” by Caprice Crane, Derek Walter, and Steve Jenkins
   2. “The Bare Naked Book” by Kathy Stinson
   3. “It’s Perfectly Normal: Changing Bodies, Growing Up, Sex, and Sexual Health” by Robbie
       Harris
   4. “Sex is a Funny Word” by Cory Silverberg
   5. “Tell Me: What Children Really Want to Know About Bodies, Sex, and Emotions” by
       Katharina von der Gathen
   6. “How Do You Make a Baby?” by Anna Fiske
   7. “All Boys Aren’t Blue” by George M. Johnson
   8. “Lawn Boy” by Jonathan Evison
   9. “Jack of Hearts” by L.C. Rosen
   10. “Crank” by Ellen Hopkins
   11. “A Court of Mist and Fury” by Sarah J. Maas

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   12. “Gender Queer” by Maia Kobabe
   13. “Looking for Alaska” by John Green
   14. “Thirteen Reasons Why” by Jay Asher
   15. “What Girls Are Made Of” by Elana Arnold
   16. “The Perks of Being a Wallflower” by Stephen Chbosky
   17. “The Nowhere Girls” by Amy Reed
   18. “The Glass Castle” by Jeannette Walls
   19. “Damsel” by Elana Arnold
   20. “Tricks” by Ellen Hopkins

INTERROGATORY NO. 2:

For each item identified in response to Interrogatory No. 1, identify the chapter numbers,
timestamps, or other specific indicator that you or they believe make the item subject to Section 1.

OBJECTION TO INTERROGATORY NO. 2:

Mr. Webb objects to Interrogatory No. 2 to the extent it seeks disclosure of information protected
by the attorney-client privilege, attorney work product doctrine, common interest privilege, and
other applicable privileges. Mr. Webb further objects to Interrogatory No. 2 as ambiguously
worded, vague, and unduly burdensome because it requires him to draw legal conclusions about
the extent to which items in GCL’s collection are subject to regulation under Section 1 of Act 372,
a law that Mr. Webb alleges is unconstitutionally vague. Moreover, determining if an item is
“harmful to minors” – and, thus, is subject to Act 372’s restrictions on its availability – requires
that the item be “taken as a whole,” Miller v. California, 413 U.S. 15, 24 (1973), and considered
in the context of the age and maturity of the specific minor to whom the material is made available,
see Ginsberg v. New York, 390 U.S. 629, 631-32 (1968). Prelim. Inj. Op. (Doc. 53) at 27 (“Act
372’s definition of ‘harmful to minors’ precisely tracks the Supreme Court-approved definitions
from Ginsberg and Miller”). Accordingly, it is not possible to identify which portions of the books
Mr. Webb has identified in his answer to Interrogatory No. 1 might cause one of the Prosecutor
Defendants to initiate a prosecution without reading the books in their entirety. The burden to Mr.
Webb of that undertaking far outweighs any possible need the Prosecutor Defendants might have
for Mr. Webb’s views on this subject.

Accordingly, without waiving any objections and for the reasons stated above, Mr. Webb declines
to identify specific chapter numbers, timestamps, or other specific indicators that would make the
books identified above subject to Section 1.




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   ● Memorandum Order and Opinion Granting Plaintiffs’ Motion for Preliminary Injunction
     (Doc. 53)
   ● Amended Complaint (Doc. 75)
   ● Debra Hale-Shelton, Jason Rapert Crowns Himself ‘Conscience of the State Library
     Board,’ Wants Security At Meetings, Ark. Times, Feb. 14, 2023
   ● American Library Association Code of Ethics

Apart from these documents and those that will be produced in response to RFP Nos. 1-9, and
without waiving any objections, Mr. Webb has no other responsive, non-privileged documents to
provide.

Date: March 18, 2024

                                           Respectfully submitted,

                                           /s/ Ben Seel

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                  VERIFICATION OF INTERROGATORY ANSWERS

I, Adam Webb, believe, based on reasonable inquiry, that the foregoing answers are true and
correct to the best of my knowledge, information, and belief.

Executed March 18, 2024

                                                                /s/ Adam Webb
                                                                Adam Webb




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                              CERTIFICATE OF SERVICE

       I hereby certify that on March 18, 2024, a copy of the foregoing was served upon all
counsel of record by electronic mail.

                                                        /s/ Ben Seel
                                                        Ben Seel




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